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 3
     Attorneys for Defendant
 4
     Jeremy Gachago
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                              ) Case No.: 2:10-CR-00347-MCE
     UNITED STATES OF AMERICA,                  )
10                                              )
                  Plaintiff,                    )
11                                              ) STIPULATION AND ORDER
           v.                                   ) CONTINUING STATUS CONFERNCE
12                                              )
     DISHAN PERERA, et al,                      )
13                                              )
                  Defendant.                    )
14
15
           It is hereby stipulated between the parties, Todd Leras, Assistant United States
16
17
     Attorney, and Michael Chastaine, attorney for Jeremy Gachago, that the status

18   conference/change of plea date of Thursday, January 24, 2013 should be continued until
19
     Thursday February 14, 2013. The continuance is necessary as counsel for Mr. Gachago
20
     is continuing to engage in negotiations with the government. The Government has
21
22   provided a plea agreement. However, the current terms are not acceptable and further
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     negotiation with the government is required. Mr. Gachago has made a counter offer
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     which is currently being considered by the Government.
25
26   ///
27   ///
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            IT IS STIPULATED that the period of time from the January 24, 2013 up to and
 1
 2   including February 14, 2013 be excluded in computing the time within which the trial
 3   must commence under the Speedy Trial Act, pursuant to 18 U.S.C. §3161(h)(7) and
 4
     Local Code T4, for ongoing preparation of counsel. It is further stipulated that the need
 5
 6   for a continuance and continued counsel preparation outweighs the interests of the public
 7   and the defendant in a speedy trial..
 8
 9   Dated: January 10, 2013                   By: ____/s/ Michael Chastaine
                                               MICHAEL CHASTAINE
10                                             Attorney for Jeremy Gachago
11
     Dated: January 10, 2013                   BENJAMIN B. WAGNER
12                                             United States Attorney
13
                                                By: /s/ Michael Chastaine for Todd Leras___
14                                                     Todd Leras
15                                                     Assistant U.S. Attorney

16
                                               ORDER

17
            GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
            IT IS HEREBY ORDERED that the status conference scheduled for Thursday,
18
     January 24, 2013 at 9:00 a.m. be continued to Thursday, February 14, 2013, at 9:00 a.m.
19
20
     and that the period from January 24, 2013, to February 14, 2013, is excludable from

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     calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A) and local

22
     rule T4. Further, that the need for a continuance and continued counsel preparation
     outweighs the interests of the public and the defendant in a speedy trial.
23
24
     Dated: January 16, 2013
25
                                             _________________________________________
26                                           MORRISON C. ENGLAND, JR., CHIEF JUDGE
27                                           UNITED STATES DISTRICT COURT

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